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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                               Atlanta Division


 EMMA KOE, et al.,

                      Plaintiffs,                Case No. ___________________
                v.

 CAYLEE NOGGLE, et al.,

                      Defendants.


                     DECLARATION OF DANIEL SHUMER, M.D.

I, Daniel Shumer, M.D., hereby declare and state as follows:

      1.        I have been retained by counsel for Plaintiffs as an expert in connection

with the above-captioned litigation.

      2.        I have actual knowledge of the matters stated herein. If called to testify

in this matter, I would testify truthfully and based on my expert opinion.

I.    BACKGROUND AND QUALIFICATIONS
       A.       Qualifications

      3.        I am a Pediatric Endocrinologist, Associate Professor of Pediatrics, and

the Clinical Director of the Child and Adolescent Gender Clinic at Mott Children’s

Hospital at Michigan Medicine. I am also the Medical Director of the

Comprehensive Gender Services Program at Michigan Medicine, University of

Michigan.
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      4.        I am Board Certified in Pediatrics and Pediatric Endocrinology by the

American Board of Pediatrics and licensed to practice medicine in the state of

Michigan.

      5.        I received my medical degree from Northwestern University in 2008.

After completing a Residency in Pediatrics at Vermont Children’s Hospital, I began a

Fellowship in Pediatric Endocrinology at Harvard University’s Boston Children's

Hospital. Concurrent with the Fellowship, I completed a Master of Public Health from

Harvard’s T.H. Chan School of Public Health. I completed both the Fellowship and the

MPH degree in 2015.

      6.        I have extensive experience in working with and treating children and

adolescents with endocrine conditions including differences in sex development

(DSD) (also referred to as intersex conditions), gender dysphoria, type 1 diabetes,

thyroid disorders, growth problems, and delayed or precocious puberty. I have been

treating patients with gender dysphoria since 2015.

      7.        A major focus of my clinical, teaching, and research work pertains to the

assessment and management of transgender adolescents.

      8.        I have published extensively on the topic of gender identity in pediatrics

and the treatment of gender dysphoria, as well as reviewed the peer-reviewed literature

concerning medical treatments for gender dysphoria, the current standards of care for

the treatment of gender dysphoria, and research articles on a variety of topics with a

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focus on mental health in transgender adolescents.

      9.        I am involved in the education of medical trainees. I have previously

been the Fellowship Director in the Division of Pediatric Endocrinology, and am

currently the Education Lead for the Division of Pediatric Endocrinology, and Course

Director for a medical student elective in Transgender Medicine. My additional

academic duties as an Associate Professor include teaching several lectures, including

those entitled “Puberty,” “Transgender Medicine,” and “Pediatric Growth and

Development.”

      10.       As a Fellow at Harvard, I was mentored by Dr. Norman Spack. Dr.

Spack established the Gender Management Services Clinic (GeMS) at Boston

Children’s Hospital. While working and training at GeMS, I became a clinical expert in

the field of transgender medicine within Pediatric Endocrinology and began

conducting research on gender identity, gender dysphoria, and the evaluation and

management of gender dysphoria in children and adolescents.

      11.       Based on my work at GeMS, I was recruited to establish a similar

program assessing and treating gender diverse and transgender children and

adolescents at the C.S. Mott Children’s Hospital in Ann Arbor. In October 2015, I

founded the hospital’s Child and Adolescent Gender Services Clinic.

      12.       The Child and Adolescent Gender Services Clinic has treated over 600

patients since its founding. The clinic provides comprehensive assessment and, when

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appropriate, treatment with pubertal suppression and hormonal therapies, to patients

diagnosed with gender dysphoria. I have personally evaluated and treated over 400

patients with gender dysphoria. The majority of the patients receiving care range

between 10 and 21 years old. Most patients attending the clinic live in Michigan or Ohio.

As the Clinical Director, I oversee the clinical practice, which currently includes 4

physicians (including 1 psychiatrist), 1 nurse practitioner, 2 social workers, 1 research

coordinator, as well as nursing and administrative staff. I also actively conduct

research related to transgender medicine, gender dysphoria treatment, and mental

health concerns specific to transgender youth.

      13.     I also provide care in the Differences/Disorders of Sex Development

(DSD) Clinic at Michigan Medicine at Mott Children’s Hospital. The DSD Clinic is a

multidisciplinary clinic focused on providing care to infants and children with

differences in the typical path of sex development, which may be influenced by the

arrangement of sex chromosomes, the functioning of our gonads (i.e., testes, ovaries),

and our bodies’ response to hormones. The clinic is comprised of members from

Pediatric Endocrinology, Genetics, Psychology, Urology, Gynecology, Surgery, and

Social Work. In this clinic I have assessed and treated over 100 patients with DSD. In

my role as Medical Director of the Comprehensive Gender Services Program (CGSP),

I lead Michigan Medicine’s broader efforts related to transgender services. CGSP is

comprised of providers from across the health system including pediatric care, adult

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hormone provision, gynecologic services, adult surgical services, speech/language

therapy, mental health services, and primary care. I run monthly meetings with

representatives from these areas to help coordinate communication between

Departments. I coordinate strategic planning aimed to improve care within the health

system related to our transgender population. I also serve as the medical representative

for CGSP in discussions with health system administrators and outside entities.

      14.     I have authored numerous peer-reviewed articles related to treatment of

transgender youth. I have also co-authored chapters of medical textbooks related to

medical management of transgender patients. I have been invited to speak at numerous

hospitals, clinics, and conferences on topics related to clinical care and standards for

treating transgender children and youth.

      15.     The information provided regarding my professional background,

experiences, publications, and presentations is detailed in my curriculum vitae, a true

and correct copy of the most up-to-date version of which is attached as Exhibit A.

      B.     Prior Testimony

      16.     In the past four years, I have been retained as an expert and provided

testimony at trial or by deposition in the following cases: Roe et al v. Utah High School

Activities Association et al (Third District Court in and for Salt Lake County, UT);

Menefee v. City of Huntsville Bd. of Educ., No. 5:18-cv-01481 (N.D. Ala.); Dekker v.

Weida, No. 4:22-cv-00325-RH-MAF (N.D. Fla.); K.C. v. Indiana, No. 1:23-CV-595

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(S.D. Ind.). I also provided expert witness testimony on behalf of a parent in a custody

dispute involving a transgender child in the following case: In the Interest of Younger,

No. DF-15-09887 (Dallas County, Texas). I have also been retained as an expert

witness in Boe v. Marshall, No. 2:22-cv-00184-LCB-SRW (M.D. Ala.), and Doe v.

Ladapo, No. 4:23-cv-114-RH-MAF (N.D. Fla.).

      C.       Compensation

      17.       I am being compensated at an hourly rate for the actual time that I devote

to this case, at the rate of $350 per hour for any review of records, preparation of reports,

declarations, and deposition and trial testimony. My compensation does not depend on

the outcome of this litigation, the opinions that I express, or the testimony that I

provide.

      D.       Bases for Opinions

      18.       In preparing this declaration, I reviewed the text of Senate Bill 140 titled

“Hospitals; the treatment of gender dysphoria in minors performed in hospitals and

other licensed healthcare facilities . . .” passed into law in 2023.

      19.       I have also reviewed the materials listed in the bibliography attached as

Exhibit B to this report, as well as the materials listed within my curriculum vitae,

which is attached as Exhibit A. The sources cited therein include authoritative,

scientific peer-reviewed publications. They include the documents specifically cited as

supportive examples in particular sections of this report. I may rely on these materials

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as additional support for my opinions.

      20.      In addition, I have relied on my scientific education, training, and years

of clinical and research experience, and my knowledge of the scientific literature in the

pertinent fields.

      21.      The materials I have relied upon in preparing this report are the same

types of materials that experts in my field of study regularly rely upon when forming

opinions on these subjects.

      22.      To the best of my knowledge, I have not met or spoken with the

Plaintiffs. My opinions are based solely on my extensive background and experience

treating transgender patients.

      23.      I may wish to supplement or revise these opinions or the bases for them

due to new scientific research or publications or in response to statements and issues

that may arise in my area of expertise.

II.   EXPERT OPINIONS
      A.     MEDICAL AND SCIENTIFIC BACKGROUND ON SEX AND
             GENDER IDENTITY

      24.      Sex is comprised of several components, including, among others,

internal reproductive organs, external genitalia, chromosomes, hormones, gender

identity, and secondary sex characteristics (Institute of Medicine (IOM), 2011).

      25.      Gender identity is the medical term for a person’s internal, innate sense

of belonging to a particular sex. Everyone has a gender identity. Diversity of gender

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identity and incongruence between assigned sex at birth and gender identity are

naturally occurring sources of human biological diversity (IOM, 2011). The term

transgender refers to individuals whose gender identity does not align with their sex

assigned at birth (Shumer, et al., 2013).

      26.     The terms gender role and gender identity refer to different things.

Gender roles are behaviors, attitudes, and personality traits that a particular society

considers masculine or feminine, or associates with male or female social roles. For

example, the convention that girls wear pink and have longer hair, or that boys wear

blue and have shorter hair, are socially constructed gender roles from a particular

culture and historical period. By contrast, gender identity does not refer to socially

contingent behaviors, attitudes, or personality traits. It is an internal and largely

biological phenomenon, as reviewed below. Living consistent with one’s gender

identity is critical to the health and well-being of any person, including transgender

people (Hidalgo, et al., 2013; Shumer, et al., 2013; White Hughto, et al., 2015).

      27.     A person’s understanding of their gender identity may evolve over time

in the natural course of their life, however, attempts to “cure” transgender individuals

by forcing their gender identity into alignment with their birth sex has been found to

be both harmful and ineffective. In one study, transgender adults who recall previous

attempts from healthcare professionals to alter their gender identity reported an increase

in lifetime suicide attempts and higher rates of severe psychological distress in the

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present (Turban, et al., 2020a). In another study, exposure to these types of attempts

were found to increase the likelihood that a transgender adolescent will attempt suicide

by 55% and more than double the risk for running away from home (Campbell, et al.,

2002). Those practices have been denounced as unethical by all major

professional associations of medical and mental health professionals, such as the

American Medical Association, the American Academy of Pediatrics, the American

Psychiatric Association, and the American Psychological Association, among others

(Fish, et al., 2022).

       28.     Scientific   research   and       medical   literature   across   disciplines

demonstrates that gender identity, like other components of sex, has a strong biological

foundation. For example, there are numerous studies detailing the similarities in the

brain structures of transgender and non-transgender people with the same gender

identity (Luders, et al., 2009; Rametti, et al., 2011; Berglund, et al., 2008). In one such

study, the volume of the bed nucleus of the stria terminalis (a collection of cells in the

central brain) in transgender women was equivalent to the volume found in non-

transgender women (Chung, et al., 2002).

       29.     There are also studies highlighting the genetic components of gender

identity. Twin studies are a helpful way to understand genetic influences on human

diversity. Identical twins share the same DNA, while fraternal twins share roughly

50% of the same DNA, however both types of twins share the same environment.

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Therefore, studies comparing differences between identical and fraternal twin pairs

can help isolate the genetic contribution of human characteristics. Twin studies have

shown that if an identical twin is transgender, the other twin is much more likely to be

transgender compared to fraternal twins, a finding which points to genetic

underpinnings to gender identity development (Heylens, et al., 2012).

      30.     There is also ongoing research on how differences in fetal exposures to

hormones may influence gender identity. This influence can be examined by studying

a medical condition called congenital adrenal hyperplasia. Female fetuses affected by

congenital adrenal hyperplasia produce much higher levels of testosterone compared

to fetuses without the condition. While most females with congenital adrenal

hyperplasia have a female gender identity in adulthood, the percentage of those with

gender dysphoria is higher than that of the general population. This suggests that fetal

hormone exposures contribute to the later development of gender identity (Dessens, et

al, 2005).

      31.     There has also been research examining specific genetic differences that

appear associated with gender identity formation (Rosenthal, 2014). For example, one

study examining differences in the estrogen receptor gene among transgender women

and non-transgender male controls found that the transgender individuals were more

likely to have a genetic difference in this gene (Henningsson, et al., 2005).

      32.     The above studies are representative examples of scientific research

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demonstrating biological influences on gender identity. Gender identity, like other

complex human characteristics, is rooted in biology with important contributions

from neuroanatomic, genetic and hormonal variation (Roselli, 2018).

      B.     RATIONALE FOR MEDICAL TREATMENT OF GENDER
             DYSPHORIA IN ADOLECENTS

      33.      All medical interventions, including treatment for gender dysphoria,

require rigorous study and must be evidence-based.

      34.      There are several studies demonstrating positive results of gender-

affirming care in adolescents (de Vries, et al., 2014; de Vries, et al., 2011; Green, et al.,

2022; Smith, et al., 2005; Turban, et al., 2022). These studies consistently demonstrate

improvement of gender dysphoria with associated improvement of psychological

functioning. A 2014 long-term follow-up study following patients from early

adolescence through young adulthood showed that gender-affirming treatment allowed

transgender adolescents to make age-appropriate developmental transitions while

living as their affirmed gender with positive outcomes as young adults (de Vries, et al.,

2014). More recently, Green et al. (2022) describe that gender-affirming hormone

therapy is correlated with reduced rates of depression and suicidality among

transgender adolescents. Turban et al. (2022) documented that access to gender-

affirming hormone therapy in adolescence is associated with favorable mental health

outcomes in adulthood, when compared to individuals who desired but could not

access hormonal interventions.
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      35.     It should be noted here, as will be elaborated upon in later sections of

this declaration, that all evidence demonstrating safety and efficacy of gender

affirming care for transgender adolescents was conducted in settings where both

pubertal suppression and gender-affirming hormonal interventions were legal and

available as a series of interventions. There are no jurisdictions worldwide that I am

aware of that allow for treatment of gender dysphoria in adolescents with

gonadotropin-releasing hormone (“GnRHa”) agonists (often referred to as puberty

blockers) while simultaneously banning gender affirming hormones, as is proposed in

Georgia.

      36.     If Senate Bill 140 is passed, it will create a medical scenario never

envisioned when evidence-based protocols pertaining to this care were being created.

Providers attempting to continue to provide care will be faced with impossible medical,

logistical, and ethical challenges in this ill-conceived and illogical attempt at “less

harsh” or “less extreme” ban on gender affirming care.

      C.     ASSESSMENT OF GENDER DYSPHORIA IN CHILDREN AND
             ADOLESCENTS

      37.     Due to the incongruence between their assigned sex and gender identity,

transgender people experience varying degrees of gender dysphoria, a serious medical

condition defined in the American Psychiatric Association’s Diagnostic and Statistical

Manual of Mental Disorders (DSM-5 TR) (APA, 2022). Gender Dysphoria is defined

as an incongruence between a patient’s assigned sex and their gender identity present
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for at least six months, which causes clinically important distress in the person’s life.

This distress is further defined as impairment in social, occupational, or other important

areas of functioning (APA, 2022). Additional features may include a strong desire to

be rid of one’s primary or secondary sex characteristics, a strong desire to be treated

as a member of the identified gender, or a strong conviction that one has the typical

feelings of identified gender (APA, 2022).

      38.     The World Health Organization’s International Classification of

Diseases (ICD), the diagnostic and coding compendia for mental health and medical

professionals, codifies Gender Incongruence as the diagnosis resulting from the

incongruity between one’s gender identity and birth sex. The Gender Incongruence

diagnosis is part of a “Conditions related to sexual health” chapter in the ICD-11, which

is the most recent iteration of the ICD published in 2019 (Costa, et al., 2015; WHO,

2019). This reflects evidence that transgender and gender diverse identities are not

conditions of mental ill health and classifying them as such can cause enormous stigma.

      39.     Although diagnoses of gender dysphoria remain relatively rare, they

have increased over time as greater awareness and scientific attention have yielded

more information and resources for clinicians. There is not, as I understand the Georgia

legislature cited as a basis for the Ban, an “unexplained rise in diagnoses” of gender

dysphoria.” S.B. 140. § (1)(1). There is an obvious explanation for any perceived “rise

in diagnoses”: a reduction in stigma and mistreatment of the condition.

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      40.     In children and adolescents, the diagnosis of gender dysphoria is made

by a health provider including but not limited to a psychiatrist, psychologist, social

worker, or therapist with expertise in gender identity concerns. It is recommended that

children and adolescents diagnosed with gender dysphoria engage with a

multidisciplinary team of mental health and medical professionals to formulate a

treatment plan, in coordination with the parent(s) or guardian(s), with a goal of

reduction of gender dysphoria. The Standards of Care for the Health of Transgender

and Gender Diverse People, Version 8 (“SOC 8”), published by the World

Professional Association for Transgender Health (WPATH), provides guidance to

providers on how to provide comprehensive assessment and care to this patient

population based on medical evidence. These standards recommend involving relevant

disciplines, including mental health and medical professionals, to reach a decision with

families about whether medical interventions are appropriate and remain indicated

through the course of treatment. Multidisciplinary clinics, such as the Child and

Adolescent Gender Clinic where I practice, have structured their programs around this

model, as guided by the WPATH SOC.

      D.     EVIDENCE-BASED CLINICAL PRACTICE GUIDELINES FOR
             THE TREATMENT OF GENDER DYSPHORIA IN CHILDREN,
             ADOLESCENTS

      41.     The goal of any intervention for gender dysphoria is to reduce dysphoria,

improve functioning, and prevent the harms caused by untreated gender dysphoria.


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      42.      Gender dysphoria is highly treatable and can be effectively managed. If

left untreated, however, it can result in severe anxiety and depression, eating disorders,

substance abuse, self-harm, and suicidality (Reisner, et al., 2015).

      43.      Based on longitudinal data, and my own clinical experience, when

transgender adolescents are provided with appropriate medical treatment and have

parental and social support, they are more likely to thrive and grow into healthy adults

(de Vries, et al., 2014).

      44.      In children and adolescents, a comprehensive biopsychosocial

assessment is typically the first step in evaluation, performed by a mental health

provider with experience in gender identity. The goals of this assessment are to

develop a deep understanding of the young person’s experience with gender identity, to

consider whether the child or adolescent meets criteria for a diagnosis of gender

dysphoria, and to understand what options may be desired and helpful for the

adolescent (Coleman, et al., 2022; Coleman, et al., 2012; Hembree, et al., 2017;

Hembree, et al., 2009).

      45.      For children younger than pubertal age, recommended treatments do not

involve medications. For adolescents, additional treatments involving medications

may be appropriate.

      46.      For pre-pubertal children with gender dysphoria, treatments may include

supportive therapy, encouraging support from loved ones, and assisting the young

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person through elements of a social transition. Social transition may include adopting

a new name and pronouns, appearance, and clothing, and correcting identity

documents.

       47.     Options for treatment after the onset of puberty include the use of

GnRHa for purposes of preventing progression of pubertal development, and

hormonal interventions such as testosterone and estrogen administration. These

treatment options are based on robust research and clinical experience, which

consistently demonstrate safety and efficacy. For patients presenting in early puberty,

GnRHa and hormonal interventions are typically used in sequence, with GnRHa used

in early adolescence, followed by hormonal interventions in later adolescence provided

there is persistence of a gender identity different from the patient’s natal sex. For patients

presenting after puberty, hormonal interventions are considered without use of GnRHa.

       48.     Clinical practice guidelines have been published by several long-

standing and well-respected medical bodies: the World Professional Association for

Transgender Health (WPATH) and the Endocrine Society (Coleman, et al., 2022;

Coleman, et al., 2012; Hembree, et al., 2017; Hembree, et al., 2009), as well as the

UCSF Center for Excellence in Transgender Health (Deutsch (ed.), 2016). The clinical

practice guidelines and standards of care published by these organizations provide a

framework for treatment of gender dysphoria in adolescents.

       49.     WPATH has been recognized as the standard-setting organization for the

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treatment of gender dysphoria since its founding in 1979. The most recent WPATH

Standards of Care (SOC 8) were published in 2022 and represent expert consensus for

clinicians related to medical care for transgender people, based on the best available

science and clinical experience (Coleman, et al., 2022).

      50.     The purpose of the WPATH Standards of Care is to assist health

providers in delivering necessary medical care to transgender people, to maximize

their patients’ overall health, psychological well-being, and self-fulfillment. The

WPATH Standards of Care serve as one of the foundations for the care provided in my

own clinic.

      51.     The WPATH SOC 8 is based on rigorous review of the best available

science and expert professional consensus in transgender health. International

professionals were selected to serve on the SOC 8 writing committee.

Recommendation statements were developed based on data derived from independent

systemic literature reviews. Grading of evidence was performed by an Evidence

Review Team which determined the strength of evidence presented in each individual

study relied upon in the document (Coleman, et al., 2022).

      52.     The previous version (SOC 7), published in 2012 (Coleman, et al.,

2012), was similar to SOC 8 in the basic tenets of management for transgender

adolescents; however, SOC 8 further reinforces these guidelines with data published

since the release of SOC 7.

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      53.     In addition, the Endocrine Society is a 100-year-old global membership

organization representing professionals in the field of adult and pediatric

endocrinology. In 2017, the Endocrine Society published clinical practice guidelines on

treatment recommendations for the medical management of gender dysphoria, in

collaboration with Pediatric Endocrine Society, the European Societies for

Endocrinology and Pediatric Endocrinology, and WPATH, among others (Hembree, et

al, 2017).

      54.     The Endocrine Society Clinical Guidelines were developed through

rigorous scientific processes that “followed the approach recommended by the Grading

of Recommendations, Assessment, Development, and Evaluation group, an

international group with expertise in the development and implementation of evidence-

based guidelines.” The guidelines affirm that patients with gender dysphoria often must

be treated with “a safe and effective hormone regimen that will (1) suppress endogenous

sex hormone secretion determined by the person’s genetic/gonadal sex and (2)

maintain sex hormone levels within the normal range for the person’s affirmed

gender.” (Hembree, et al., 2017).

      55.     The AAP is the preeminent professional body of pediatricians in the

United States, with over 67,000 members. The AAP endorses a commitment to the

optimal physical, mental, and social health and well-being for youth. The 2018 policy

statement titled Ensuring Comprehensive Care and Support for Transgender and

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Gender-Diverse Children and Adolescents further lends support to the treatment

options outlined in the WPATH Standards of Care and the Endocrine Society’s

Clinical Practice Guidelines (Rafferty, et al., 2018).

      56.      Aside from the AAP, the tenets set forth by the Endocrine Society

Clinical Practice Guidelines and the WPATH Standards of Care are supported by the

major professional medical and mental health associations in the United States,

including the American Medical Association, the American Psychological

Association, the American Psychiatric Association, and American Academy of Family

Physicians, among others (e.g., AMA, 2019; American Psychological Association,

2015; Drescher, et al., 2018 (American Psychiatric Association); Hembree, et al., 2017

(Endocrine Society); Klein, et al., 2018 (AAFP); National Academies, 2020; WPATH,

2016).

      57.      As a board-certified pediatric endocrinologist, I follow the Endocrine

Society Clinical Practice Guidelines and the WPATH Standards of Care when treating

my patients.

      E.       TREATMENT PROTOCOLS FOR GENDER DYSPHORIA IN
               CHILDREN AND ADOLESCENTS

      58.      Central to the guidance from WPATH, the Endocrine Society, and the

AAP is the importance of familial love and support. Transgender youth who report

high levels of rejection from family have lower self-esteem and higher degrees of

isolation. These youth are at very high risk for health and mental health problems when
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they become young adults. According to the Family Acceptance Project, transgender

young people who reported high levels of family rejection are significantly more likely

to have attempted suicide, to report high levels of depression, to use illegal drugs, and

to be at high risk for HIV and sexually transmitted diseases compared with transgender

young people who report no or low levels of rejection by family due to their identity

(Ryan, et al., 2010).

      59.     Undergoing treatment to alleviate gender dysphoria is commonly

referred to as a transition. The transition process in adolescence typically includes

(i) social transition and/or (ii) medications, including puberty-delaying medication and

hormone therapy. The steps that make up a person’s transition and their sequence will

depend on that individual’s medical and mental health needs and decisions made

between the patient, family, and multidisciplinary care team.

      60.     There are no medications considered for transition until after the onset

of puberty. Puberty is a process of maturation heralded by production of sex

hormones—testosterone and estrogen—leading to the development of secondary sex

characteristics. Secondary sex characteristics include testosterone-induced effects such

as deepening of the voice, muscular changes, facial and body hair, and estrogen-

induced effects such as breast development. There is diversity in the age of pubertal

onset; however, most adolescents begin puberty between ages 10 and 12 years.

      61.     Gender exploration in childhood is expected and healthy. The majority

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of prepubertal children exploring their gender do not develop gender dysphoria and are

not expected to become transgender adolescents or adults. In contrast, data and

personal experience shows that children whose gender dysphoria persists into

adolescence are highly likely to be transgender (van der Loos, et al., 2022). Some

individuals in this field misinterpret older studies showing that a large percentage of

children diagnosed with gender identity disorder did not grow up to be transgender.

Those studies include children who would not fulfill the current diagnostic criteria for

gender dysphoria and, in any case, have no relevance to this case because prepubertal

children are not prescribed hormone therapy.

      62.     Puberty-delaying medication and hormone-replacement therapy—both

individually and in combination—can significantly improve a transgender young

person’s mental health. These treatments allow for a physical appearance more closely

aligning with gender identity and decreases the likelihood that a transgender young

person will be incorrectly identified with their assigned sex, further alleviating their

gender dysphoria, and bolstering the effectiveness of their social transition.

      63.     At the onset of puberty, adolescents begin to experience the onset of

secondary sex characteristics. Adolescents with differences in gender identity may

have intensification of gender dysphoria during this time due to development of

secondary sex characteristics incongruent with gender identity. Persistence or

intensification of gender dysphoria as puberty begins is used as a helpful diagnostic

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tool as it becomes more predictive of gender identity persistence into adolescence and

adulthood (de Vries, et al., 2012).

      64.     The rationale for intervening during adolescence is straightforward:

puberty and the development of permanent secondary sex characteristics happen

during adolescence. To prevent distress associated with development of unwanted sex

characteristics, and to develop secondary sex characteristics consistent with gender

identity in an age-appropriate manner, treatment during adolescence is required.

Proponents of a so-called “wait and see” approach—advocating for no treatment until

the age of legal consent—are ignoring the significant physical and mental health

benefit of early intervention in appropriately assessed and counseled patients and

families.

             i.     Treatment with puberty-delaying medications

      65.     Adolescents diagnosed with gender dysphoria who have entered puberty

(Tanner Stage 2) may be prescribed puberty-delaying medications (GnRHa) to prevent

the distress of developing permanent, unwanted physical characteristics that do not

align with the adolescent’s gender identity. Tanner Stage 2 refers to the stage in

puberty whereby the physical effects of testosterone or estrogen production are first

apparent on physical exam. Specifically, this is heralded by the onset of breast budding

in an individual assigned female at birth, or the onset of testicular enlargement in an

individual assigned male at birth. For individuals assigned male at birth, Tanner Stage

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2 typically occurs between age 9–14, and for those assigned female at birth between

age 8–12.

      66.     The treatment works by pausing endogenous puberty at whatever stage it

is at when the treatment begins, limiting the influence of a person’s endogenous

hormones on their body. For example, a transgender girl will experience no

progression of physical changes caused by testosterone, including facial and body hair,

an Adam’s apple, or masculinized facial structures. And, in a transgender boy, those

medications would prevent progression of breast development, menstruation, and

widening of the hips (Coleman, et al., 2022; de Vries, et al., 2012; Deutsch (ed.), 2016;

Hembree, et al., 2017; Rosenthal, 2014).

      67.     GnRHa have been used extensively in pediatrics for several decades.

Prior to their use for gender dysphoria, they were used (and still are used) to treat

precocious puberty. GnRHa work by suppressing the signal hormones from the

pituitary gland (luteinizing hormone [LH] and follicle stimulating hormone [FSH]) that

stimulate the testes or ovaries to produce sex hormones. Upon discontinuation of

GnRHa, LH and FSH production resume and puberty will also resume.

      68.     GnRHa have no long-term implications on fertility. In transgender

youth, it is most typical to use GnRHa from the onset of puberty (Tanner Stage 2) until

mid-adolescence. While treating, the decision to continue treatment will be continually

evaluated. Should pubertal suppression no longer be desired, GnRHa would be

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discontinued, and puberty would re-commence.

      69.     Prior to initiation of GnRHa, providers counsel patients and their

families extensively on potential benefits and risks. The designed benefit of the

treatment is to reduce the risk of worsening gender dysphoria and mental health

deterioration. Furthermore, development of secondary sex characteristics incongruent

with gender identity could result in the future need for surgeries and other body

alterations that would not be needed if GnRHa had been used.

      70.     As an experienced pediatric endocrinologist, I treat patients with these

same medications for both precocious puberty and gender dysphoria and in both cases

the side effects are comparable and easily managed. And for both patient populations

the risks are greatly outweighed by the benefits of treatment.

      71.     In addition, there are patients who do not meet criteria for precocious

puberty but who may require pubertal suppression. I prescribe GnRHa to adolescents

with growth hormone deficiency, who despite growth hormone treatment, will have a

very short adult height. Patients with disabilities who are unable to tolerate puberty at

the typical age due to hygienic concerns and young women with endometriosis may

also be prescribed GnRHa. In these situations, the use of GnRHa should be thought of

as temporary and temporizing treatment to bridge to a longer-term solution. Patients

are typically prescribed GnRHa for no longer than three years as prolonged length of

treatment is neither recommended due to the importance of eventual exposure to

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pubertal hormones on bone health nor necessary because during the course of

treatment, a long-term plan to address the underlying problem would have been made.

      72.     As with gender dysphoria, the prescription of GnRHa to treat the

conditions described in paragraph 69 above is “off-label,” yet it is widely accepted

within the field of endocrinology and not considered experimental. The same holds

true for other common medications used in pediatric endocrinology: using metformin

for weight loss; growth hormone for short stature not caused by growth hormone

deficiency; countless medications used to control type 2 diabetes which have an adult

indication but whose manufacturers have not applied for a pediatric indication.

             ii.   Treatment with hormone therapy

      73.     In mid-adolescence, the patient, their parents, and the patient’s care team

may discuss the possibility of beginning the use of testosterone or estrogen. Providers

discuss these treatments for patients currently receiving GnRHa, or for patients who

have already gone through their endogenous puberty and either did not have access to,

desire, or elect for GnRHa treatment.

      74.     These hormone therapies are used to treat gender dysphoria in

adolescents to facilitate development of sex-specific physical changes congruent with

their gender identity. For example, a transgender boy prescribed testosterone will

develop a lower voice as well as facial and body hair, while a transgender girl

prescribed estrogen will experience breast growth, female fat distribution, and softer

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skin.

        75.   Under the Endocrine Society Clinical Guidelines and SOC 8, hormone

therapy is an appropriate treatment for transgender adolescents with gender dysphoria

when the experience of dysphoria is marked and sustained over time, the adolescent

demonstrates emotional and cognitive maturity required to provide informed

consent/assent for treatment, other mental health concerns (if any) that may interfere

with diagnostic clarity and capacity to consent have been addressed, and the adolescent

has discussed reproductive options with their provider. SOC 8 also highlights the

importance of involving parent(s)/guardian(s) in the assessment and treatment process

for minors (Coleman, et al., 2022; Hembree, et al., 2017).

        76.   Similar to GnRHa, the risks and benefits of hormone treatment are

discussed with patients (and families, if the patient is a minor) prior to initiation of

testosterone or estrogen. When treated with testosterone or estrogen, the goal is to

maintain the patient’s hormone levels within the normal range for their gender.

Laboratory testing is recommended to ensure proper dosing and hormonal levels. If

starting hormonal care after completing puberty, discussion of egg or sperm

preservation prior to starting treatment is recommended.

        77.   Regardless of the treatment plan prescribed, at every encounter with the

care team there is a re-evaluation of the patient’s gender identity and their transition

goals. Should a patient desire to discontinue a medical intervention, the intervention is

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discontinued. Discontinuation of GnRHa will result in commencement of puberty.

Discontinuation of testosterone or estrogen would arrest progression of

masculinization or feminization, respectively. The patient would begin to produce

endogenous hormones at typical levels to others with the same sex assigned at birth

after discontinuation. Some of the effects of testosterone and estrogen are expected to

be relatively permanent (e.g. voice deepening with testosterone, breast development

with estrogen) while others are non-permanent (e.g. fat and musculature changes,

arrest of the menstrual cycle, skin changes). Findings from studies in which

participants have undergone comprehensive evaluation prior to gender care show very

low levels of regret (de Vries, et al., 2011; van der Loos, et al., 2022; Wiepjes, et al.,

2018).

      78.     Surgical interventions, including but not limited to chest and genital

surgery, are indicated in appropriately selected patients. These surgeries are not

typically performed in adolescence but rather considered in adulthood. Surgical care

is not addressed in this case. The WPATH SOC 8 outlines the current literature

supporting benefits of surgical interventions for patients with gender dysphoria

(Coleman, et al., 2022).

      F.     SAFETY AND EFFICACY OF PUBERTY-DELAYING
             MEDICATIONS AND HORMONE THERAPY TO TREAT
             GENDER DYSPHORIA

      79.     GnRHa, prescribed for delaying puberty in transgender adolescents, is

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both a safe and effective treatment. While GnRHa are not banned under Senate Bill

140, a thorough understanding of this intervention is required to understand gender

affirming care for adolescents more broadly. This is because whenever discussing the

use of GnRHa, it should be thought of as a temporary treatment or a bridge; a way to

delay decision making regarding hormonal treatments until later adolescence.

      80.     Patients under consideration for treatment with GnRHa are working

within a multidisciplinary team of providers all dedicated to making informed

and appropriate decisions with the patient and family in the best interest of the

adolescent. Physicians providing this intervention are trained and qualified in gender

identity concerns and childhood growth and development and are participating in this

care out of a desire to improve the health and wellness of transgender youth and

prevent negative outcomes such as depression and suicide.

      81.     GnRHa, including injectable leuprolide and implantable histrelin, have

rare side effects which are discussed with patients and families prior to initiation. Mild

negative effects may include pain at the injection or implantation site, sterile abscess

formation, weight gain, hot flashes, abdominal pain, and headaches. These effects can

be seen in patients receiving GnRHa for gender dysphoria, or for other indications such

as precocious puberty. I counsel patients on maintaining a healthy diet and promote

physical activity, and regularly document height and weight during treatment.

Nutritional support can be provided for patients at risk for obesity.

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      82.     Risk of lower bone mineral density in prolonged use of GnRHa can be

mitigated by screening for, and treating, vitamin D deficiency when present, and by

limiting the number of years of treatment based on a patient’s clinical course

(Rosenthal, 2014). An exceptionally rare but significant side effect, increased

intracranial pressure, has been reported in six patients (five treated for precocious

puberty, one for transgender care), prompting an FDA warning in July 2022 (AAP,

2022). These cases represent an extremely small fraction of the thousands of patients

who have been treated with GnRHa over decades. Symptoms of this side effect

(headache, vomiting, visual changes) are reviewed with families and if they occur the

medication is discontinued.

      83.     GnRHa do not have long-term implications on fertility. This is clearly

proven from decades of use in the treatment of precocious puberty (Guaraldi, et al.,

2016; Martinerie, et al, 2021). Progression through natal puberty is required for

maturation of egg or sperm. If attempting fertility after previous treatment with GnRHa

followed by hormone therapy is desired, an adult patient would withdraw from

hormones and allow pubertal progression. Assistive reproduction could be employed

if needed (T’Sjoen, et al., 2013).

      84.     Patients who initiate hormones after completing puberty are offered

gamete preservation prior to hormonal initiation (Coleman, et al., 2022), but even

when not undertaken, withdrawal of hormones in adulthood often is successful in

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achieving fertility when it is desired (Light, et al., 2014; Knudson, et al., 2017).

       85.     Discussing the topic of fertility is important, and not specifically unique

to treatment of gender dysphoria. Medications used for other medical conditions, such

as chemotherapeutics used in cancer treatment, can affect fertility. For all medications

with potential impacts on fertility, the potential risks and benefits of both treatment

and non-treatment should be reviewed and data regarding risk for infertility clearly

articulated prior to the consent or assent of the patient. Risk for fertility changes must

be balanced with the risk of withholding treatment.

       86.     Review of relevant medical literature clearly supports the benefits of

GnRHa treatment on both short-term and long-term psychological functioning and

quality of life (e.g., Achille, et al., 2020; Carmichael, et al., 2021; Costa, et al., 2015; de

Vries, et al., 2014; de Vries, et al., 2011; Kuper, et al., 2020; Turban, et al., 2020b; van

der Miesen, et al., 2020). For example, a 2014 long-term follow-up study following

patients from early adolescence through young adulthood showed that gender-

affirming treatment allowed transgender adolescents to make age-appropriate

developmental transitions while living as their affirmed gender with positive outcomes

as young adults (de Vries, et al., 2014).

       87.     In my own practice, adolescent patients struggling with significant

distress at the onset of puberty routinely have dramatic improvements in mood, school

performance, and quality of life with appropriate use of GnRHa. Side effects

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encountered are similar to those seen in other patients treated with these medications

and easily managed.

      88.     That said, GnRHa should not be given indefinitely for several reasons.

First, delaying a person’s puberty until age 18 would be socially devastating for any

person. Secondly, puberty is important for many reasons beyond the development of

secondary sex characteristics. For example, and as will be discussed below, bone

density increases during puberty. Therefore, GnRHa are used only as long as medically

necessary. The provider, patient and family are attempting to balance the goal of

delaying medical decision-making regarding hormones with the advantages of a

relatively normally timed puberty.

      89.     Hormone therapy (testosterone or estrogen) is prescribed to older

adolescents with gender dysphoria. As is the case with GnRHa, the need for hormone

therapy is not unique to transgender adolescents. Patients with conditions such as

delayed puberty, hypogonadism, Turner Syndrome, Klinefelter Syndrome, agonadism,

premature ovarian failure, and disorders of sex development all require treatment with

these hormones, often starting in adolescence and continuing lifelong. Without

testosterone or estrogen treatment, these patients would be unable to progress through

puberty normally, which would have serious medical and social consequences.

Whether used in adolescents to treat gender dysphoria, or to treat any of these other

conditions, testosterone and estrogen are prescribed with a goal to raise the testosterone

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or estrogen level into the normal male or female range for the patient’s age. Careful

monitoring of blood levels and clinical progress are required. Side effects are rare, but

most often related to overtreatment, which can be minimized with this monitoring.

Additionally, side effects are considered, discussed, and easily managed in all

individuals needing hormone therapy regardless of the diagnosis necessitating these

medications.

      90.      Venous thromboembolism (blood clotting) is a known side effect of

estrogen therapy in all individuals placed on it including transgender women. Risk is

increased in old age, in patients with cancer, and in patients who smoke nicotine. This

side effect is mitigated by careful and accurate prescribing and monitoring. In my

career, no patient has suffered a thromboembolism while on estrogen therapy.

      91.      Treatment of gender dysphoria with testosterone or estrogen is highly

beneficial for both short-term and long-term psychological functioning of adolescents

with gender dysphoria and withholding treatment from those who need it is harmful

(e.g., Achille, et al., 2020; Allen, et al., 2019; Chen, et al., 2023; de Lara, et al., 2020;

de Vries, et al., 2014; Grannis, et al., 2021; Green, et al., 2022; Kaltiala, et al., 2020;

Kuper, et al., 2020). To highlight examples, Green et al. (2022) describe that gender-

affirming hormone therapy is correlated with reduced rates of depression and

suicidality among transgender adolescents. Turban et al. (2022) documented that

access to gender-affirming hormone therapy in adolescence is associated with

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favorable mental health outcomes in adulthood, when compared to individuals who

desired but could not access hormonal interventions.

      92.     I treat many patients with gender dysphoria with GnRHa, testosterone,

and estrogen. Side effects related to these medications are very rare and can be treated

with dose adjustment and/or lifestyle changes.

      93.     In sum, the use of GnRHa and hormones in adolescents for the treatment

of gender dysphoria is the current standard of care and certainly not experimental. This

is due to robust evidence of safety and efficacy. The sum of the data supports the

conclusion that treatment of gender dysphoria with these interventions promotes

wellness and helps to prevent negative mental health outcomes, including suicidality

in adolescents. The data to support these interventions are so strong that withholding

such interventions would be negligent and unethical.

      G.     ALLOWING THE USE OF GnRHa WHILE SIMULTANEOUSLY
             BANNING HORMONAL CARE DEMONSTRATES AN
             ALARMING LACK OF MEDICAL UNDERSTANDING

      94.     Senate Bill 140 is unique when compared to similar bills being attempted

in other States in that it explicitly bans gender affirming hormone care for adolescents

with gender dysphoria while allowing for the use of GnRHa. Regardless of the

motivation behind banning hormone therapy but not the use of GnHRa, it only serves

to highlight a deep lack of understanding of medicine, gender dysphoria, and the

evidence-based treatment options available.

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      95.     When Dutch physicians first described the use of GnRHa in transgender

adolescents, they were describing a medical dilemma. Transgender adolescents in

early stages of puberty experience unwanted permanent changes to their bodies which

cause intense distress. They are, however, at an age younger than ideal to make

decisions which have permanent implications. These authors pointed out that when a

youth has persistence of transgender identity at the onset of puberty, persistence into

adulthood becomes highly likely. Even still, the use of GnRHa was proposed to delay

the decision regarding hormones until later adolescence, when a deeper and more

meaningful conversation regarding risks and benefits of treatment is possible (de

Vries, Cohen-Kettenis, 2012). It was never proposed, and would not be logical to

assume, that treatment with GnRHa alone would constitute a safe or meaningful long-

term plan. Exposure to sex hormones, either testosterone or estrogen, is critical for

every person. A patient appropriately treated with GnRHa in early puberty, who is now

in later adolescence and eligible for a hormonal intervention would be left with three

options: (1) discontinue GnRHa and allow for puberty to resume (not safe from a

mental health perspective); (2) continue GnRHa until age 18 (not safe from a medical

perspective); or (3) move out of State to continue care elsewhere.

      96.     GnRHa allows for delayed decision making, but at some point, everyone

must be exposed to pubertal hormones. Transgender youth do want to and need to

undergo growth and development.

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      97.     An analogy to better understand the roles of GnRHa and hormone

therapy is by considering GnRHa as a bridge to the next decision point: either

discontinuation in the case of desistance of gender dysphoria (which is rare) or

progression to hormonal care (extremely common). Allowing GnRHa while

simultaneously banning hormonal care would be like constructing a “bridge to

nowhere.” At the end of the bridge, you have nowhere to go and simply fall.

      98.     An analogy related to Pediatric Endocrinology involves the thyroid

condition Graves Disease. In Graves Disease, the thyroid is overstimulated by the

body’s immune system to produce excessive amounts of thyroid hormone. The result

is hyperthyroidism (thyroid hormone levels are too high). The first line of treatment

for this condition is a medication called methimazole. Methimazole impairs the ability

of the thyroid to produce thyroid hormone. When used to treat Graves Disease,

methimazole lowers the thyroid hormone level back to normal. However, methimazole

does nothing to solve the underlying problem, the immune system is continuing to

overstimulate the thyroid gland. Pediatric Endocrinologists continue methimazole for

1 to 3 years, hoping that the Graves Disease will go into remission. If it does,

methimazole can be stopped. If it does not, it is less than ideal to continue methimazole

as a life-long medication. Therefore, in cases of persisting Graves Disease,

thyroidectomy (removal of the thyroid) is recommended. In this analogy, if

thyroidectomy were banned, providers would have a tool to treat Graves Disease when

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it is diagnosed but would not have an option for safe and effective long-term

management.

        H.    HARMS ASSOCIATED WITH PROHIBITING AND
              DISCONTINUING TREATMENT

       99.    Prohibition of the full complement of gender-affirming care for

adolescents is likely to have devastating consequences. I am concerned such a

prohibition might lead to a staggering increase in mental health problems including

suicidality for transgender children and adolescents in Georgia. One study which

highlights my concern is a study of over 21,000 patients who report ever desiring

gender-affirming hormone care. When comparing those who were able to access this

care to those desiring but never accessing care, those able to access care had lower

odds of suicidality within the past year. In addition, those individuals who were able

to access care in adolescence had lower odds of suicidality compared to those waiting

to access until adulthood (Turban, et al., 2022).

       100.   Even more concerning is a situation where patients currently receiving

care and thriving would be forced to discontinue this care. As outlined in Section G,

patients treated with GnRHa without access to hormonal interventions would be placed

in an extremely unique situation without precedent anywhere in the world and left with

no safe options outside of obtaining care out of State. Adolescents in families without

the means to travel for care would face potentially catastrophic consequences.

III.   CONCLUSION
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      101.    In summary, banning hormone therapy for adolescent children runs

counter to evidence-based best practices and standards of care for the treatment of

gender dysphoria.

      102.    Gender dysphoria is a challenging condition, but it is treatable through

individualized assessment and treatment, which may include social transition,

psychotherapy, pubertal suppression, and hormonal therapy. These treatments are not

experimental and are supported by all major medical bodies in the field of transgender

medicine and pediatrics.

      103.    Lack of access to these treatments will result in worse outcomes for

countless youth in Georgia. Furthermore, banning coverage for evidence-based

treatment for gender dysphoria sends a message that transgender youth are not valid and

should be stigmatized.

      104.    In my own clinical practice in Michigan, I have seen an influx of patients

from states banning medically proven treatments for gender dysphoria who report not

feeling safe living in the community that they have always called home. Parents who

love and support their transgender children have described themselves as “refugees”

in their own country, moving to avoid discriminatory laws which they know would

clearly harm their health or the health of their child.

      105.    Banning coverage of effective treatment for gender dysphoria will not

eliminate transgender youth, but will, unfortunately, lead to an increase in mental
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health problems and suicidality in an already vulnerable population.



      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Executed this 28th day of June 2023.




                                               ________________________________
                                                    Daniel Shumer, M.D.




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                       Exhibit A
                Curriculum Vitae
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                           Daniel Shumer, MD MPH
            Clinical Associate Professor in Pediatrics - Endocrinology
                          Email: dshumer@umich.edu

EDUCATION AND TRAINING

Education

08/2000-08/2003    BA, Northwestern University, Evanston, United States

08/2004-05/2008    MD, Northwestern University, Feinberg School of Medicine,
                   Chicago, United States

07/2013-05/2015    MPH, Harvard T.H. Chan School of Public Health, Boston,
                   United States

Postdoctoral Training

                   Residency, Pediatrics, Vermont Children's Hospital at Fletcher
06/2008-06/2011
                   Allen Health Care, Burlington, VT

                   Chief Resident, Chief Resident, Vermont Children's Hospital
07/2011-06/2012
                   at Fletcher Allen Health Care, Burlington, VT

                   Clinical Fellow, Pediatric Endocrinology, Boston Children's
07/2012-06/2015
                   Hospital, Boston, MA

CERTIFICATION AND LICENSURE

Certification

10/2011-Present    American Board of Pediatrics, General

Licensure

08/2015-Present    Michigan, Medical License

09/2015-Present    Michigan, DEA Registration

09/2015-Present    Michigan, Controlled Substance


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WORK EXPERIENCE

Academic Appointment

10/2015-9/2022     Clinical Assistant Professor in Pediatrics - Endocrinology,
                   University of Michigan - Ann Arbor, Ann Arbor

09/2022-Present    Clinical Associate Professor in Pediatrics - Endocrinology,
                   University of Michigan - Ann Arbor, Ann Arbor

Administrative Appointment

07/2019-Present    Fellowship Director - Pediatric Endocrinology, Michigan
                   Medicine, Department of Pediatrics, Ann Arbor

07/2020-Present    Medical Director of the University of Michigan
                   Comprehensive Gender Services Program, Michigan
                   Medicine, Ann Arbor
                   Oversee the provision of care to transgender and gender non-
                   conforming patients at Michigan Medicine.

07/2020-Present    Education Lead - Pediatric Endocrinology, University of
                   Michigan - Department of Pediatrics, Ann Arbor

Clinical Appointments

04/2022-05/2023    Medical Director in UMMG Faculty Benefits Appt.,
                   University of Michigan - Ann Arbor, Ann Arbor

Private Practice

08/2013-09/2015    Staff Physician, Harvard Vanguard Medical Associates,
                   Braintree

RESEARCH INTERESTS




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 • Gender dysphoria

 • Prader Willi Syndrome

CLINICAL INTERESTS

 • Gender dysphoria

 • Disorders of Sex Development

 • Prader Willi Syndrome

GRANTS

Past Grants

A Phase 2b/3 study to evaluate the safety, tolerability, and effects of Livoletide
(AZP-531), an unacylated ghrelin analog, on food-related behaviors in patients
with Prader-Willi syndrome
PI
Millendo Therapeutics
04/2019 - 04/2021

HONORS AND AWARDS

National

2014                Annual Pediatric Endocrine Society Essay Competition:
                    Ethical Dilemmas in Pediatric Endocrinology: competition
                    winner - The Role of Assent in the Treatment of Transgender
                    Adolescents

Institutional

2012 - 2015         Harvard Pediatric Health Services Research Fellowship;
                    funded my final two years of pediatric endocrine fellowship
                    and provided tuition support for my public health degree




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2016               The University of Michigan Distinguished Diversity Leaders
                   Award, awarded by The Office of Diversity, Equity and
                   Inclusion to the Child and Adolescent Gender Services Team
                   under my leadership

2019               Lecturer of the Month, Department of Pediatrics, Michigan
                   Medicine

TEACHING MENTORSHIP

Resident

07/2020-Present    Rebecca Warwick, Michigan Medicine (co-author on
                   publication #22)

Clinical Fellow

07/2017-06/2020    Adrian Araya, Michigan Medicine (co-author on publication
                   #22, book chapter #4)

12/2020-Present    Jessica Jary, Michigan Medicine - Division of Adolescent
                   Medicine

Medical Student

09/2017-06/2020    Michael Ho, Michigan Medicine

07/2019-Present    Hadrian Kinnear, University of Michigan Medical School (co-
                   author on book chapter #3, abstract #3)

07/2019-Present    Jourdin Batchelor, University of Michigan

TEACHING ACTIVITY

Regional

08/2018-Present    Pediatric Boards Review Course sponsored by U-M: "Thyroid
                   Disorders and Diabetes". Ann Arbor, MI




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Institutional

12/2015-12/2015   Pediatric Grand Rounds: "Transgender Medicine - A Field in
                  Transition". Michigan Medicine, Ann Arbor, MI

02/2016-02/2016   Medical Student Education: Panelist for M1 Class Session on
                  LGBT Health, Doctoring Curriculum. Michigan Medicine,
                  Ann Arbor, MI

02/2016-02/2016   Psychiatry Grand Rounds: "Transgender Medicine - A Field in
                  Transition". Michigan Medicine, Ann Arbor, MI

03/2016-03/2017   Pharmacy School Education: "LGBT Health". University of
                  Michigan School of Pharmacy, Ann Arbor, MI

04/2016-Present   Course Director: Medical Student (M4) Elective in
                  Transgender Medicine. Michigan Medicine, Ann Arbor, MI

04/2016-04/2016   Rheumatology Grand Rounds: "Gender Identity". Michigan
                  Medicine, Ann Arbor, MI

05/2016-05/2016   Lecture to Pediatric Rheumatology Division: "Gender
                  Dysphoria". Michigan Medicine, Ann Arbor, MI

07/2016-07/2016   Internal Medicine Resident Education: "Gender Identity".
                  Michigan Medicine, Ann Arbor, MI

09/2016-09/2016   Presentation to ACU Leadership: "Gender Identity Cultural
                  Competencies". Michigan Medicine, Ann Arbor, MI

10/2016-10/2016   Presentation to Department of Dermatology: "The iPledge
                  Program and Transgender Patients". Michigan Medicine, Ann
                  Arbor, MI

02/2017-02/2017   Swartz Rounds Presenter. Michigan Medicine, Ann Arbor, MI

02/2017-02/2017   Lecture to Division of General Medicine: "Transgender
                  Health". Michigan Medicine, Ann Arbor, MI




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02/2017-02/2017   Presentation at Collaborative Office Rounds: "Transgender
                  Health". Michigan Medicine, Ann Arbor, MI

10/2017-10/2017   Family Medicine Annual Conference: "Transgender
                  Medicine". Michigan Medicine, Ann Arbor, MI

12/2017-12/2017   Presenter at Nursing Unit 12-West Annual Educational
                  Retreat: "Gender Identity at the Children's Hospital". Michigan
                  Medicine, Ann Arbor, MI

02/2018-Present   Pediatrics Residency Lecturer: "Puberty". Michigan Medicine,
                  Ann Arbor, MI

02/2019-Present   Medical Student (M1) Lecturer: "Pediatric Growth and
                  Development". Michigan Medicine, Ann Arbor, MI

02/2019-Present   Doctors of Tomorrow Preceptor: offering shadowing
                  opportunities to students from Cass Technical High School in
                  Detroit. Michigan Medicine, Ann Arbor, MI

03/2019-03/2019   Lecture to Division of Orthopedic Surgery: "Transgender
                  Health". Michigan Medicine, Ann Arbor, MI

MEMBERSHIPS IN PROFESSIONAL SOCIETIES

2012 - Present    Pediatric Endocrine Society

COMMITTEE SERVICE

National

2014 - 2016       Pediatric Endocrine Society - Ethics Committee, Other,
                  Member

2017 - present    Pediatric Endocrine Society - Special Interest Group on
                  Gender Identity, Other, Member

2018 - present    Pediatric Endocrine Society - Program Directors Education
                  Committee, Other, Member




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Regional

2013 - 2015        Investigational Review Board - The Fenway Institute, Boston,
                   MA, Other, Voting Member

Institutional

2017 - 2019        Department of Pediatrics at Michigan Medicine; Diversity,
                   Equity, and Inclusion Committee, Other, Fellowship Lead

2017 - 2019        University of Michigan Transgender Research Group, Other,
                   Director

VOLUNTEER SERVICE

2014               Camp Physician, Massachusetts, Served at a camp for youth
                   with Type 1 Diabetes

SCHOLARLY ACTIVITIES

PRESENTATIONS

Extramural Invited Presentation Speaker

1. Grand Rounds, Shumer D, Loyola University School of Medicine, 07/2022,
Chicago, Illinois

Other

1.   Gender Identity, Groton School, 04/2015, Groton, MA

2. Television Appearance: Gender Identity in Youth, Channel 7 WXYZ Detroit,
04/2016, Southfield, MI

3. It Gets Better: Promoting Safe and Supportive Healthcare Environments for
Sexual Minority and Gender Non-Conforming Youth, Adolescent Health
Initiative: Conference on Adolescent Health, 05/2016, Ypsilanti, MI

4. Gender Identity, Humanists of Southeast Michigan, 09/2016, Farmington
Hills, MI




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5. Gender Identity, Pine Rest Christian Mental Health Services, 10/2016, Grand
Rapids, MI

6. Pediatric Grand Rounds - Hormonal Management of Transgender Youth,
Beaumont Children's Hospital, 11/2016, Royal Oak, MI

7. Transgender Youth: A Field in Transition, Temple Beth Emeth, 11/2016, Ann
Arbor, MI

8. Transgender Youth: A Field in Transition, Washtenaw County Medical
Society, 11/2016, Ann Arbor, MI

9. Pediatric Grand Rounds: Transgender Youth - A Field in Transition, St. John
Hospital, 02/2017, Detroit, MI

10. Transgender Medicine, Veterans Administration - Ann Arbor Healthcare
System, 05/2017, Ann Arbor, MI

11.   Gender Identity, Hegira Programs, 05/2017, Detroit, MI

12. Care of the Transgender Adolescent, Partners in Pediatric Care, 06/2017,
Traverse City, MI

13. Conference planner, host, and presenter: Transgender and Gender Non-
Conforming Youth: Best Practices for Mental Health Clinicians, Educators, &
School Staff; 200+ attendees from fields of mental health and education from
across Michigan, Michigan Medicine, 10/2017, Ypsilanti, MI

14. Endocrinology Grand Rounds: Transgender Medicine, Wayne State
University, 11/2017, Detroit, MI

15. Care of the Transgender Adolescent, St. John Hospital Conference:
Transgender Patients: Providing Compassionate, Affirmative and Evidence Based
Care, 11/2017, Grosse Pointe Farms, MI

16. Hormonal Care in Transgender Adolescents, Michigan State University
School of Osteopathic Medicine, 11/2017, East Lansing, MI

17. Working with Transgender and Gender Non-Conforming Youth, Michigan
Association of Osteopathic Family Physicians, 01/2018, Bellaire, MI



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18.   Community Conversations, Lake Orion, 01/2018, Lake Orion, MI

19. "I Am Jazz" Reading and Discussion, St. James Episcopal Church, 03/2019,
Dexter, MI

20. Gender Identity, Michigan Organization on Adolescent Sexual Health,
10/2019, Brighton, MI; Port Huron, MI

21. Ask The Expert, Stand With Trans, 05/2020, Farmington Hills, MI (Virtual
due to COVID)

22. Transgender Medicine, Michigan Association of Clinical Endocrinologists
Annual Symposium, 10/2020, Grand Rapids, MI (Virtual due to COVID)

23. Transgender Youth in Primary Care, Michigan Child Care Collaborative
(MC3), 10/2020, Ann Arbor, MI (Virtual due to COVID)

24. Lets Talk About Hormones, Stand With Trans, 10/2020, Farmington Hills,
MI (Virtual due to COVID)

25. Gender Identity, Universalist Unitarian Church of East Liberty, 04/2021,
Virtual due to COVID

26. Unconscious Bias, Ascension St. John Hospital, 05/2021, Virtual due to
COVID

PUBLICATIONS/SCHOLARSHIP

Peer-Reviewed Articles

1. Vengalil N, Shumer D, Wang F: Developing an LGBT curriculum and
evaluating its impact on dermatology residents, Int J Dermatol.61: 99-102,
01/2022. PM34416015

Chapters

1. Shumer: Coma. In Schwartz MW6, Lippincott Williams & Wilkins,
Philadelphia, PA, (2012)

2. Shumer, Spack: Medical Treatment of the Adolescent Transgender Patient. In
Đorđević M; Monstrey SJ; Salgado CJ Eds. CRC Press/Taylor & Francis, (2016)


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3. Kinnear HA, Shumer DE: Duration of Pubertal Suppression and Initiation of
Gender-Affirming Hormone Treatment in Youth. In FinlaysonElsevier, (2018)

4. Araya, Shumer DE: Endocrinology of Transgender Care – Children and
Adolescents. In Poretsky; Hembree Ed. Springer, (2019)

Non-Peer Reviewed Articles

1. Shumer D: The Effect of Race and Gender Labels in the Induction of Traits,
Northwestern Journal of Race and Gender Criticism.NA01/2014

2. Shumer D: A Tribute to Medical Stereotypes, The Pharos, Journal of the
Alpha Omega Alpha Medical Society.Summer07/2017

3. Mohnach L, Mazzola S, Shumer D, Berman DR: Prenatal diagnosis of 17-
hydroxylase/17,20-lyase deficiency (17OHD) in a case of 46,XY sex discordance
and low maternal serum estriol, Case Reports in Perinatal Medicine.8(1)01/2018

4. Mohnach L, Mazzola S, Shumer D, Berman DR: Prenatal Diagnosis of 17-
hydroxylase/17,20-lyase deficiency (17OHD) in a case of 46,XY sex discordance
and low maternal serum estriol, Case Reports in Perinatal Medicine.8(1)12/2018

5. Kim C, Harrall KK, Glueck DH, Shumer DE, Dabelea D: Childhood
adiposity and adolescent sex steroids in the EPOCH (Exploring Perinatal
Outcomes among Children) study, Clin Endocrinol (Oxf).91(4): 525-533,
01/2019. PM31278867

6. Araya A, Shumer D, Warwick R, Selkie E: 37. “I’ve Been Happily Dating
For 5 Years” - Romantic and Sexual Health, Experience and Expectations in
Transgender Youth, Journal of Adolescent Health.66(2): s20, 02/2020

7. Araya A, Shumer D, Warwick R, Selkie E: 73. "I think sex is different for
everybody" - Sexual Experiences and Expectations in Transgender Youth, Journal
of Pediatric and Adolescent Gynecology.33(2): 209-210, 04/2020

8. Araya AC, Warwick R, Shumer D, Selkie E, Rath T, Ibrahim M, Srinivasan
A: Romantic Health in Transgender Adolescents, Pediatrics.Pediatrics01/2021

9. Martin S, Sandberg ES, Shumer DE: Criminalization of Gender-Affirming
Care - Interfering with Essential Treatment for Transgender Children and


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Adolescents, New England Journal of Medicine.385(7): 579-581, 08/2021.
PM34010528

Editorial Comment

1. Shumer DE, Harris LH, Opipari VP: The Effect of Lesbian, Gay, Bisexual,
and Transgender-Related Legislation on Children, 01/2016. PM27575000

2. Shumer DE: Health Disparities Facing Transgender and Gender
Nonconforming Youth Are Not Inevitable, 01/2018. PM29437859

3. Martin S, Sandberg ES, Shumer DE: Criminalization of Gender-Affirming
Care - Interfering with Essential Treatment for Transgender Children and
Adolescents, 01/2021

Erratum

1. Tishelman AC, Kaufman R, Edwards-Leeper L, Mandel FH, Shumer DE,
Spack NP: Correction to Serving Transgender Youth: Challenges, Dilemmas, and
Clinical Examples, [Professional Psychology: Research and Practice, 46(1),
(2015) 37-45], Professional Psychology: Research and Practice.46(4): 249,
08/2015

Journal Articles

1. Shumer DE, Thaker V, Taylor GA, Wassner AJ: Severe hypercalcaemia due
to subcutaneous fat necrosis: Presentation, management and complications,
Archives of Disease in Childhood: Fetal and Neonatal Edition.99(5)01/2014.
PM24907163

2. Tishelman AC, Kaufman R, Edwards-Leeper L, Mandel FH, Shumer DE,
Spack NP: Serving transgender youth: Challenges, dilemmas, and clinical
examples, Professional Psychology: Research and Practice.46(1): 37-45,
02/2015. PM26807001

3. Reisner SL, Vetters R, Leclerc M, Zaslow S, Wolfrum S, Shumer DE,
Mimiaga MJ: Mental health of transgender youth in care at an adolescent Urban
community health center: A matched retrospective cohort study, Journal of
Adolescent Health.56(3): 274-279, 03/2015. PM25577670



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4. Shumer DE, Tishelman AC: The Role of Assent in the Treatment of
Transgender Adolescents, International Journal of Transgenderism.16(2): 97-102,
04/2015. PM27175107

5. Shumer DE, Roberts AL, Reisner SL, Lyall K, Austin SB: Brief Report:
Autistic Traits in Mothers and Children Associated with Child’s Gender
Nonconformity, Journal of Autism and Developmental Disorders.45(5): 1489-
1494, 05/2015. PM25358249

6. Tishelman AC, Kaufman R, Edwards-Leeper L, Mandel FH, Shumer DE,
Spack NP: Reply to comment on "serving transgender youth: Challenges,
dilemmas, and clinical examples" by Tishelman et al. (2015), Professional
Psychology: Research and Practice.46(4): 307, 08/2015. PM26858509

7. Shumer DE, Reisner SL, Edwards-Leeper L, Tishelman A: Evaluation of
Asperger Syndrome in Youth Presenting to a Gender Dysphoria Clinic, LGBT
Health.3(5): 387-390, 10/2016. PM26651183

8. Tishelman AC, Shumer DE, Nahata L: Disorders of sex development:
Pediatric psychology and the genital exam, Journal of Pediatric Psychology.42(5):
530-543, 01/2017. PM27098964

9. Edwards-Leeper L, Shumer DE, Feldman HA, Lash BR, Tishelman AC:
Psychological profile of the first sample of transgender youth presenting for
medical intervention in a U.S. pediatric gender center, Psychology of Sexual
Orientation and Gender Diversity.4(3): 374-382, 01/2017

10. Shumer DE, Abrha A, Feldman HA, Carswell J: Overrepresentation of
adopted adolescents at a hospital-based gender dysphoria clinic, Transgender
Health.2(1): 76-79, 07/2017. PM28861549

11. Strang JF, Meagher H, Kenworthy L, de Vries AL C, Menvielle E,
Leibowitz S, Janssen A, Cohen-Kettenis P, Shumer DE, Edwards-Leeper L,
Pleak RR, Spack N, Karasic DH, Schreier H, Balleur A, Tishelman A, Ehrensaft
D, Rodnan L, Kuschner ES, Mandel F, Caretto A, Lewis HC, Anthony LG: Initial
Clinical Guidelines for Co-Occurring Autism Spectrum Disorder and Gender
Dysphoria or Incongruence in Adolescents, Journal of Clinical Child and
Adolescent Psychology.47(1): 105-115, 01/2018. PM27775428



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12. Selkie E, Adkins V, Masters E, Bajpai A, Shumer DE: Transgender
Adolescents' Uses of Social Media for Social Support, Journal of Adolescent
Health.66(3): 275-280, 03/2020. PM31690534

13. Warwick RM, Shumer DE: Gender-affirming multidisciplinary care for
transgender and non-binary children and adolescents, Children's Health
Care.01/2021

14. Araya AC, Warwick R, Shumer DE, Selkie E: Romantic relationships in
transgender adolescents: A qualitative study, Pediatrics.147(2)02/2021.
PM33468600

15. Warwick RM, Araya AC, Shumer DE, Selkie EM: Transgender Youths’
Sexual Health and Education: A Qualitative Analysis, Journal of Pediatric and
Adolescent Gynecology.35(2): 138-146, 04/2022. PM34619356

Letters

1. Strang JF, Janssen A, Tishelman A, Leibowitz SF, Kenworthy L, McGuire
JK, Edwards-Leeper L, Mazefsky CA, Rofey D, Bascom J, Caplan R, Gomez-
Lobo V, Berg D, Zaks Z, Wallace GL, Wimms H, Pine-Twaddell E, Shumer DE,
Register-Brown K, Sadikova E, Anthony LG: Revisiting the Link: Evidence of the
Rates of Autism in Studies of Gender Diverse Individuals, Journal of the
American Academy of Child and Adolescent Psychiatry.57(11): 885-887, 11/2018.
PM30392631

Letters to editor

1.   Shumer DE: Doctor as environmental steward, 01/2009. PM19364173

Notes

1. Shumer DE, Mehringer J, Braverman L, Dauber A: Acquired
hypothyroidism in an infant related to excessive maternal iodine intake: Food for
thought, Endocrine Practice.19(4): 729-731, 07/2013. PM23512394

Podcasts

1. Gaggino L, Shumer WG D: Pediatric Meltdown: Caring for Transgender
Youth with Compassion: What Pediatricians Must Know, 01/2020

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Reviews

1. Shumer DE, Spack NP: Current management of gender identity disorder in
childhood and adolescence: Guidelines, barriers and areas of controversy, Current
Opinion in Endocrinology, Diabetes and Obesity.20(1): 69-73, 02/2013.
PM23221495

2. Guss C, Shumer DE, Katz-Wise SL: Transgender and gender
nonconforming adolescent care: Psychosocial and medical considerations, Current
Opinion in Pediatrics.27(4): 421-426, 08/2015. PM26087416

3. Shumer DE, Nokoff NJ, Spack NP: Advances in the Care of Transgender
Children and Adolescents, Advances in Pediatrics.63(1): 79-102, 08/2016.
PM27426896

Short Surveys

1. Shumer DE, Spack NP: Transgender medicine-long-term outcomes from 'the
Dutch model', Nature Reviews Urology.12(1): 12-13, 01/2015. PM25403246

Abstracts/Posters

1. Shumer D, Kinnear H, McLain K, Morgan H: Development of a Transgender
Medicine Elective for 4th Year Medical Students, National Transgender Health
Summitt, Oakland, CA, 2017

2. Shumer D: Overrepresentation of Adopted Children in a Hospital Based
Gender Program, World Professional Association of Transgender Health Biennial
International Symposium, Amsterdam, The Netherlands, 2016

3. Shumer D: Mental Health Presentation of Transgender Youth Seeking
Medical Intervention, World Professional Association of Transgender Health
Biennial International Symposium, Amsterdam, The Netherlands, 2016

4. Adkins V, Masters E, Shumer D, Selkie E: Exploring Transgender
Adolescents' Use of Social Media for Support and Health Information Seeking
(Poster Presentation), Pediatric Research Symposium, Ann Arbor, MI, 2017




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                       Exhibit B
                    Bibliography
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being of transgender youths: preliminary results. International journal of pediatric
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Among Transgender Youth After Gender-Affirming Hormones. Clinical Practice in Pediatric
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transgender and gender nonconforming people. American Psychologist, 70, 832-864.

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(5th ed., text rev.). Arlington, VA: American Psychiatric Publishing.

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cohort of 12 to 15 year old young people with persistent gender dysphoria in the UK. PloS
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